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                                               UNITED STATES DISTRICT COURT
                                                EASTERNT DISTRICT OF TEXAS
                                                      LTTFKIN DIVISION

PAUL V. ANDERSON,INDMDUAL and                                                 $
BRANDON FINCHUM, INDIVIDUAL                                                   $
                Plaintffi                                                     s
                                                                              s
'v.                                                                           $   crvrL    ACTTON No:
                                                                              s
]\ACOGDOCHES COUNTY ATTORNEY' S                                               $
CIFFICE, and JOHN FLEMING, In his official                                    $
r:apacity; NACOGDOCH ES COIINTY                                               s
SHERIFF,S OFFICE, and JASON BRIDGES,                                          $
In his official Capacity, NACOGDOCHES                                         $
COUNTY DISTRICT ATTORNEY'S OFFICE,                                            $
:rnd ANDREW JONES,In his official capacity                                    s
                Defendunts.                                                   $


                                                  PLAINTIFFS' ORIGINAL COMPLAINT

.TO
            THI HONORABLE                     JUDGE OF THE COURT:

                Plaintiffi Paul V. Anderson and Brandon                      K Finchunr file this Original Complaint against the
County of Nacogdoches, Texas and John Fleming, in his official capacity as Nacogdoches County

,\ttorney, and Sheriff Jason Bridges, in his official capacity as Nacogdoches County Sheriff, and the

I\acogdoches County District Attorney's Office and Andrew Jones, in his olhcial capacity, fbr damages

and injunctive relief.

                                                             STATIMENT OF THE CASE

                The Supreme Court ruled                     in Upiohn Co. v. United Stutes (1981)     that "[t]he attorney-client

privilege is the oldest of the privileges fbr confidential communications known to the common law. lts

purpose is to encourage                    lull   and frank communication between attorneys and their clients, and thereby

promote broader public interests in the obseruance of law and administration of justice. The privilege

recognizes that sound legal advice or advocacy serues public ends and that such advice or advocacy

depends upon the lawyer's being                           fully informed by the client."

,In   cle   rson.tf i nchum Ori gi ntr I Contpl oi tt t                                                       Page   I   of'16
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              In early May of 2021, Brandon Finchum, a custodial inmate at the Nacogdoches County, Texas

jail, called his attorney from a jail telephone to discuss his                            case. The inmate and his attorney had an

 absolute attorney-client relationship at the time of the wiretapping by the County of Nacogdoches Sheriff                               s


Offrce. The call was recorded and its confidential contents shared with others. That confidential

inlormation was then used to harm the Plaintiffs.

              On May 19t|',2021, Nacogdoches County, Texas Attorney John Fleming expressly admitted in

writing that "a non-lawyer employee of our olfice listened to a jail call between you and Mr. Finchum."

See     Exhibit uA" -May 79tt',2027 Email tiom John Fleming.

             This lawsuit seeks to stop the Nacogdoches County Sheriff from illegally recording attorney's

confidential calls fiom the Nacogdoches County                               jail   and unlawfully disclosing those recordings to

prosecutors and third parties, and                            to stop prosecutors from illegally using those recordings to           harm

citizens.

                                                                        PARTIES

             Plaintiff Paul V. Anderson is a resident of Nacogdoches County, Texas. Paul Anderson                                       is

licensed attorney in the State of Texas and is represented by Paul Anderson, PLLC, 601 North Street,

Nacogdoches, Texas.

             Plaintiff Brandon                   I(     Finchum is currently a custodial inrnate of the Nacogdoches County

Sheriff sOffice. Withoutany notice, on oraroundNovember 7't,2021, Mr. Finchum wastransferredfiom

Nacogdoches County                     jail to the Jasper County,         Texas     jail. Brandon K. Finchum is   represented by the

undersigned.

             Defendant John Fleming                           is the Nacogdoches County Attorney. The Nacogdoches                   County

Attorney's Offrce prosecutes misdemeanors and can be served with summons and process at 101 W. Main

St., Suite 230, Nacogdoches, Texas 75961, or wherever he may be found.




) n tle rson., Iii n ch u ru Or i.qi n a I C om p I a i n t                                                       l'oge 2 of   l6
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               Defendant Jason Bridges is the Sheriff of Nacogdoches County, Texas and can be sen'ed with

 summons and process at his place                                     of employment, the   Nacogdoches County Sheriffs Office. 2306

 Douglas Road, #102, Nacogdoches, Texas 75964, or wherever he may be found.

              Defendant Andrew Jones is the Nacogdoches County District Attorney. The Nacogdoches County

District Attorney's Office prosecutes felonies. Mr. Jones may be served with summons and process at l0l

West Main, Suite 240, Nacogdoches, Texas 75961, or wherever he may be found.

              Defendant County of Nacogdoches, Texas is agovernnrent entity existing underthe laws of the

State of Texas and is located within the U.S. Eastern District. The County of Nacogdoches, Texas can be

served with summons and process on Greg Sowell, County Judge, located                                         at 101 West Main         Street,

Nacogdoches, Texas                        7   5961.

                                                                     JURISDICTION AND VENUE

              This Cour-t has jurisdiction over Plaintiffs' federal claims under 28 U.S.C. $ 1331, 1343 and 42

U S C $$ 1983 and 1988, and supplementaljurisdictionunder23 U                                     S   C { 1367(a)tohearPlaintiff       sstate

law claims.

              Venue is proper in this Court, under 28 U S.C. S 1391(b) because the incident at issue took place

in Nacogdoches County, Texas within the United States Eastern District of Texas, Lufkin Division.

                                      FACTUAL ALLEGATIONS RELEVANT TO ALL CLAIMS

              On May 2"'r.2O2l Brandon Finchum contractually retained Paul Anderson, PLLC to represent Mr.

Finchum in civil tort and civil rights violations allegedly committed against Brandon Finchurn by the

Nacogdoches County Sheriff                                    s Office while Brand Finchum was in the custody and care of                 the

Nacogdoches County Sheriff s Offlrce. These include allegations and complaints of Brandon Finchum

being stabbed during an arrest by a Nacogdoches County Sheriff s Offlce Deputy and improper medical

care while in custody.




.-l n de r son., l;i n ch un   t ( )ri gin a I   ( - om p I ai n t                                                    l'age 3 o./ 16
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                  Brandon Finchum called lrom the Nacogdoches County Jail to Paul Anderson's office on more

 than one occasion before and afler May 2"d,2021to discuss his legal case including                                       a   judicial complaint

 filed against              a Nacogdoches                       County District Court trial court judge that remains open today

                  Somewhere between May 2"'1, 2021 and May l91l', 2O2l at least one protected attorney-client

 communication between Paul Anderson and Brandon Finchum was recorded by the Nacogdoches County

 Sherifl One or more of those recordings were then provided to the Nacogdoches County District Attorney.

                  Every incoming telephone call to the law offrces of Paul Anderson, PLLC is answered by staff

 who say "law off'tce." Therefore, any recording made by the Nacogdoches County Sheriff involving                                              a


 call to Paul Anderson, PLLC would begin with the phrase "law office." Any person listening to recordings

 ofcallstoPaul Anderson,PLLCwouldhearthisphraseatthestartoftherecording.                                                   Thus.immediately

 upon hearing that the call was to a law office, recording of the call should have ceased imrnediately.

                 The Nacogdoches County District Attorney, or an investigator with the Nacogdoches County

District Attorney's Otfice, then provided the recordings to an "employee" olthe Nacogdoches County

 Attorney's Office. The Nacogdoches County Attorney, John Fleming, then confirmed that, a "non-lawyer"

 employee listened to the recordings and disclosed the contents of those recordings to one or more other

persons.


                 The inlormation obtained from one or rnore of those conversations was extraordinary sensitive and

confidential The information was used to tortiously interf'ere in Paul Anderson's representation of

 Brandon Finchum. The information was used to tortiously interfere in Paul Anderson's I                                       I Writs of Habeas

Corpus alleging criminal conduct involving the Nacogdoches County District Attorney's office.1

                 On May 79tt',2021Nacogdoches County Attorney John Fleming wrote an email to Paul Anderson

expressly stating "a non-lawyer employee                                       of our office listened to   a   jail call between you and Mr.

Finchum " See Exhihit                                  "A" - May I 9tt,,2021Email frorn John Flerning.




1 Denial(s) of (Eleven) Motion(s) to Recuse the Tnal Court Judge in Writ of Habeas Corpus cases is (are) cunentlv on appeal
to the l2th Court of Appeals. Tr'ler Texas

.,1   n de r son I l,-i n ch u ru   Or i gi   tr ct   I (' om p I ai nr                                                       Page .l o/'16
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            Mr. Fleming also stated,                            "lt   is my understanding the employee heard two statements that I will

 summarize: that you would meet your client at I:30 p.m. and that you would try to call                                        Mr      Finchum,s

 dad." Id. Such conversations are protected under attorney-client privilege.

            The reference to              "Mr. Finchum's dad" was not inadveftent or irrelevant. "Mr. Finchum's dad" was

in fact a cont'idential and impoftant                                   witness   in a civil corruption investigation into the County of
Nacogdoches Di strict Attorney' s Of'fi ce.

            Mr. Finchum's dad ceased all                                 communication      with Paul Anderson around May              91h, 2021,

presumably because of the information obtained from the wiretap.

            It is not known how long the Nacogdoches County Attorney's Office held on to the privileged

information or to whom it was fLrther disserninated.

            On May lgtt', 2O2l Paul Anderson filed a Texas Public lnformation Act request for the audio

recordings between him and his client. See attachetl Exhibit '(l)"                                    - May lgth,2021PIA     Request.

            Exactly ten days later, on June 1't, 2021. the Nacogdoches County Attorney's office responds with

a request      for clarification of the May 1 gth,2021 PIA request. See ottoched Exhibit "C"- June I"t.2A21                                   .




            On June 141t',2021, the Nacogdoches County Attorney's Olfice was asked in writing to identify

the "non-lawyer employee" that listened to the attorney-client recordings provided by the Nacogdoches

County Sherifls Office or others. See iltoched Euhihit $I)':t                                    -   June l4tl', 2021 Letter to John Flerning.

The letter was never responded to. This lawsuit seeks the disclosure by the Nacogdoches County

Attorney's Office of any and all persons, including non-employees, that had access to the recording

between Paul Anderson and Brandon Finchum and the infbrmation those recordings contained.

           On June 17rh,2A2l outside counsel stated that "Nacogdoches County has no items responsive to

items 4, 5 and           6."   See aftuched                 Exhibit '(E"      -   June 24'h, 2021 letter   from Robert Davis. ltems 4, 5 and

6 are'.

                         4. A copy of any                                       or electronic record of
                                                                      communication, writing
                         Nacogdoches                  County Attorney's oftce policy on attorney-client
                         communications, including, but not limited to, monitoring telephone calls
                         from inmates incarcerated in the Nacogdoches County Jail.

A n derson / lri nch   um ( )rigi   n a I (.' om p I oi n   t                                                              Page 5 ol   l6
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                                 5 A              copy            of any comnrunication, writing or      electronic record of
                                 Nacogdoches County Attorney's offlce admonishing, disciplining, or
                                 counseling the "employee" that listened to the confidential and privileged
                                 attorney-client recording referred to in your May 9r1,, z0zl email.

                                 6. Please provide a copy of any communication, writing or electronic record
                                 created by the Nacogdoches County Attorney's office and referring to
                                 "taking steps to avoid this happening again" stated in your May l9tt , ZO2l
                                 email." Id.

               On June 24th,2021 outside counsel clarified the basis for denying Paul Anderson's Public

Information act requests for Items 1,2 and                                         3. ,lee uttuched Exhibit $8" -    June2411'.2021 letter from

Roberl Davis. The Nacogdoches County Attorney's office basis tbr denying Paui Anderson's Public

lnfonnation Act request was that the information sought by Paul Anderson was considered to                                                         be

confidential by law, either constitutional, statutory, or by judicial decision. and that the documents sought

were exempted core work-product.

               On August ntt',2021, Paul Anderson filed a criminal complaint with theNacogdoches County

Attorney's Office, Robert Davis, Counsel for the Nacogdoches County Attorney's Office, and the Texas

Rangers. See attoched Exhibit                                          "F" - August 17,2021Criminal Complaint. The sworn complaint            alleged

that "John Flerning andlor one or nrore non-lawyer employees of the Nacogdoches County Attorney's

Offlce did knowingly violate Section 39 06(b) & (c) - Misuse Of Olficial lnfbrmation and Section 16.02

-- Unlawful Interception, Use, Or Disclosure of Wire, Oral, or Electronic Communications." Id. Nothing

has come              ol this complaint and this lawsuit, in                            par1, seeks injunctive   relief correcting   Nacogdoches

County's institutionalized failure to police its own misconduct.

               On August zott',2021, the Texas Offlce of the Attorney General issued an opinion that stated, in

part, that "fNacogdoches] have submitted audio recordings.                                       . " and, "[T]hus, these recordings. . "        This

is the first tirne Plaintiffs were aware that there were multiple recordings. S'ee attached Exhibit "C" -

OAG Opinion Letter (Otk202l-22722) to Robert Davis, August z}tt',2021.

               We believe f'ederal and constitutional law fhr exceeds minimum thresholds of authority to override

an "opinion" of the Texas Attorney General, which, in fact states that,                                          "    .pursuant   to   552.023, the



.:l n de r so n./ J;i n ch u n   t   ( ) r i gi n a   I (. o m p I oi rr t                                                    l'age 6 of 16
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 requestor has a 'special                            right (ital. added) of     access to information concerning hinrself and his client, and

 this information may not be withheld under section 552.101. Id.

               Exhibit F was withheld on the basis of the anticipation of litigation                              Id Unfortunately,       litigation

has commenced and these exceptions do not waive the rules of discovery under the FederalRules of                                               Civil

Procedure.

               Incredulously, on September 2"'l,202l,counselfbrNacogdoches County wrote, "A CD with phone

calls was submitted to the Attomey General's Office                                       .   ." and "... to determine which calls the Attomey

General is requiring us to produce, we                                  will   need to listen to the phone calls. Do we have your consent to

listen to these calls?" See attuchel Exhibit '(H"                                   -   Septenrber Z"d, 2027 Letter from Robin O'Donoghue.

Not only is this                  a   written admission of more than one recorded phone call existing between Attorney Paul

Anderson and his client Brandon Finchum, but the absurdity of this request also defies common sense and

flouts professional ethics. Defense counsel seeks to listen to recorded conversations between the

Plaintiff s counsel and his client to deterrnine whether Plaintiff s counsel can listen to his own calls.

               Paul Anderson tells Nacogdoches COnty it absolutely has no permission to listen to any privileged

calls between Paul Anderson and Brandon Finchum. See utluched Exhihit "1"                                            *   Letter to Nacogdoches

Counsel September 8'h. 2021.

               As a final act of insult to transparency, on September 8t1'',20?1, Nacogdoches County Attorney's

Office, through it counsel Roberl Davis, admits the existence of, but refuses to provide, "a detailed log of

every phone call between Paul Anderson and Brandon Finchum." See attached Exhihit "J"                                               *   September

rctt'. zozl.

               Nacogdoches County has repeatedly refused to provide copies of the calls recorded between Paul

Anderson and Brandon Finchum. The interception of attorney-client privileged calls is illegal under Texas

law and therefbre illegal under federal wiretapping law.

               The Nacogdoches County Sheriff failed to screen out attorney-client privileged calls, and then

illegally intercepted one or more of those calls and shared copied of those calls with other law enforcement


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 agencies, including the Nacogdoches County Attorney's Of,fice and the Nacogdoches County Distrrct

 Attorney's Of'fice.

              Custodial inmates at the Nacogdoches County                    jail routinely contact their attorneys by telephone

 to discuss confidential matters. They do so with the understanding their conversations are private and not

 recorded, much less disseminated to prosecutors and third parties.

             Custodial inmates are led to believe that their calls with their attorneys are confidential.

             The Nacogdoches County Sheriff s Office leads custodial inmates to believe that calls with their

 attorneys are confi dential

             There is no legitimate reason to record calls between cr-rstodial inmates and their attorneys                           -   the

recordings do nothing to turther the Nacogdoches County jail's security or public safety.

             Prosecutors in both the Nacogdoches County Attorney's Office and Nacogdoches County District

Attorney's Office have procured recordings of confidential attorney-client conversations from the

Nacogdoches County Sheriffs' Office and listened to them. Then information obtained w-as subsequently

used to their tactical advantage without admitting they obtained or listened to the recordings until they

were forced to do so by disclosure to the Texas Attorney General's Otfice.

             Defendants appear to have no intention of ceasing their unlawfirl, unconstitutional eavesdropping

on attorney-client communications. Both custodial inmates and their attorneys face substantial risk that

the def'endants named herein                      will continue to violate privilege   and privacy as defrned by the Federal and

Texas Wiretap Acts.

                                               CLAIMS FOR RELIEF/CAUSE OF ACTION

                                                                    COUNT I:
                        vloLATIoNoF FEDERAL wIRETAP ACT,                                18   u.s.c.   Q   2510 et. Seq.

            The Plaintiffs incorporate all previous paragraphs by reference                    lor all intents and purposes.

            Plaintiffs bring this claim on their own behalf. Paul Anderson, PLLC represents Brandon Finchum.

            The Federal Wiretap Act broadly prohibits intercepting, disclosing, or using the contents of any

wire, oral, or electronic communication.

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               The Nacogdoches County Sheriff s Office has acted in concert with the Nacogdoches Counry

  Attorney's Ofllce and the Nacogdoches County District Attorney's Office to intercept confidential

 communications between an attorney and his client and then disclosed confidential information to local

 prosecutors in violation of the Act.

               Paul Anderson and Brandon Finchum had one or more phone calls recorded. Extraordinarily

 sensitive and confidential infbrmation derived from those calls was disseminated to others.

              The Defendants used an electronic device to intercept attorney-client communications between

 attorney Paul Anderson and his client Brandon Finchum. The electronic device was af'fixed to the wires

 of the Nacogdoches County jail's inmate telephone system and used in wire communications.

              Subsequently, Defendants intentionally disclosed the intercepted conversations to third parlies,

 specifically, an unidentified "non-lawyer employee" in the Nacogdoches County Attorney's office.

              Under 18 U.S.C. $ 2520 Plaintiffs are entitled to actual and statutory damages, punitive damages,

 costs and attorney's fees.

                                                                  COUNT II.

                                                      VIOLATION OF TEXAS WIRETAP ACT

                                                 (Tex. Civ" Prac. & Rem. Code   Q   123.001. et seq.)

              Each Defendant is violating the Texas Wiretap Act when it:

              "[l]ntercepts, attempts to intercept, or employs or obtains another to intercept or attenlpt to

intercept the communication;"

              "uses or divulges information that he knows or reasonably should know was obtained by

interception of thecommunication." (Tex. Civ. Prac.                     & Rem Code $ 123 002(a).

             Delendants have violated, and may be continuing to violate, Plaintiff attorneys' and custodial

inmates' rights under the Texas Wiretap Act. Plaintiffs Paul Anderson and Brandon Finchum are directly

affected.




) n de r so rr / Fi n ch u ru Or i.qi n a I (- om p I ai n t                                            Page 9 of   l6
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                                                                              COUNT    III.
                                                                       INVASION OF PRIVACY

                  Texas Courts have expressly allowed for the common law cause of action fbr the unreasonable

intrusion upon the seclusion or private affairs of another. Intrusion upon seclusion is an invasion of privacy

claim for over-reaching and over-snooping.

                 For Intrusion upon seclusion to occur, Defendants must intrude upon the solitude, seclusion, or

private affairs of another; the intrusion would be highly off'ensive to a reasonable person, and the plaintiff's

suffered an injury as a result. I,'crlenntela v Acluino.853 S.W.2d 512,                               51   3 (Tex. 1983).

                 Under the U. S. Constitution's Fourth Amendment a person is always constitutionally protected

against illegal search and seizure.

                 The Texas Rules of Evidence protect from disclosure the communications between a client and his

counsel when they are kept confidential and are made to facilitate the rendition of legal services. See TEX.

R EVID 503(bX1); Conreron                                   v.    State, 241 S W 3d 15, 19 (Tex Crim App 2007) ;McA.fee,467 S W 3d

at 642*43

                 The privilege applies not only to legal advice but attaches to complete communications between

an attorney and the client.                         ln re (crrbo Ceramic,s lrtc.,81 S.W.3d 36q,374 (Tex.App.-Houston Il4th Dist.]

2002. no pet.); GAI';- (-orp. v. Caldtt,ell, 839 S.W.2d 149, 151 (Tex.App.-Houston [ 14th Dist.] 7992" orig.

proceeding).

                 The subject matter of the information contained                              in the communication is         irrelevant when

determining whether the privilege applies. See Marcrthon                                       Oil Co. r'. Moye, 893 S.W 2d 585, 589
(Tex.App.-Dallas 1994, no writ).

                For a communication to be privileged, it must appear that the communication was made by a client

seeking legal advice                         fiom    a   lawyer in that lawyer's capacity as such, and the communication must relate

to the purpose for which the advice is sought; the proof, express or circumstantial, must indicate the client's

desire for confidence and secrecy. l)uvctl                               (ountlt llanch Co.   v. Alamo l,unrber Co., 663 S.W.2d 627, 034



I   n tle   r.son,l-i nch   u   t   n Origi n al Cotn pl ai n t                                                             Page   l0 of 16
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  (Tex.App-Amarillo 1983, writ refd n.r.e.); Bollurtl v. Ballard,296 SW2d                                   gll, gl6 (Tex.CivApp.-
  Galveston 1956, no writ).

                "A communication is 'confidential' if not intended to be disclosed to third persons other than those

 to whom disclosure is made in furtherance of the rendition of prof'essional legal services to the client or

 those reasonably necessary                             forthe transmission of the communication." Tex. R. Evid. 503(a)(5),61 Tex.

 B.J. at 387 , DeAngelis, 116 S.W.3d at 404.

               Rule -503(b)(2) adds a special rule of privilege for criminal cases.                   "ln criminal cases, a client      has

 a privilege to prevent the lawyer or lawyer's representative from disclosing any other fact which came to

 the knowledge of the lawyer orthe lawyer's representative by reason of the attorney-client relationship "

 Tex. R. Evid.503(b)(2),61 Tex. B.J. at 381 ;Canteron.24l S.W.3d at l9

               lnvocation of the privilege is dependent upon the existence of an attorney-client relationship,

 which has been defined as a contractual relationship whereby an attorney agrees to render professional

 services for a client . 'l'arutx, lnc. v. Akin, Gump, Strcnr.s, Hauer                     & l;elel, I05 S.W.3d 244,254 (Tex.App.-

 Houston [14th Dist.] 2003. pet. filed), citing Mellon Serv. Co. v. T'utche llct,ys &. Co.,17 S.W.3d 432,437

 (Tex.App.-Houston                        I   st Dist.] 2000, no pet.).

               The relationship may be expressly created by contract, or it may be implied tiom the actions of the

parties. 7'crrtrtx, 105 S.W.3d at254, citing &ilkm v. Estate of Mc1orntick,4T S.W.3d 179.182 (Tex App.-

Corpus Christi 2001, no pet.); L'in,son & l:.lkins v. Moron,946 S.W.2d 381, 405 (Tex.App.-Houston Il4th

Dist.l 1997, writ dism'd by agr.).

              The privilege is intended to allow unrestrained communication and contact between the attorney

and client in all matters in which the attorney's professional advice or services are sought, without fear

that these confidential communications                             will be disclosed by the attorney, voluntarily or involuntarily, in

any legal proceeding . Huie ,-. DeShctzo, 922 S.W .2d 9?A" 922 (Tex.l 996); hr re 'l ctStottt Motor. Corp., 94

S.W.3d 819,822 (Tex.App.-San Antonio20A2, pet. denied).




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                                                                       COUNT IV.

                                                  VIOLATION OF THE
                                     FIRST. FOURTH. FIFTH AND SIXTH AMENDMENTS
                                         TO THE UNITED STATES CONSTITT]TION

           The 4th Amendment guarantees the right of a person "to be secure in their persons" houses, papers,

and eflf'ects, against unreasonable searches and seizures." {1.5. Const. Anrend.                        lL'. The 14il'Amendment
guarantees due process                  of law. Such violations are actionable pursuant to 42 U.S.C. Sections 1983            and

1988. The Fourlh Amendment of the U.S. Constitution prohibits unreasonable searches. The Defendants

seriously threaten the Fourth Amendment rights                              of Plaintiff   attorneys and their clients who have   a

reasonable expectation of privacy when they make telephone calls.

          The Sixth Amendment entitles criminal defendants to effective assistance of counsel, which

includes confidential and timely attorney-client communication. Similarly, the First, Fifth and Fourteenth

Amendments protect a custodial inmate's right to access the courts, which is violated when government

oft'rcials infringe on confidential and timely attorney-client communication.

          There      is no guarantee                      Defendants   will not continue to    violate Paul Anderson's, Brandon

Finchum's or any other custodial inmate's privileged attorney-client communications.

          Plaintiffs bring claims for actual damages and punitive damages against all Defendants under 42

U.S.C. S 1983 because the Defendants, acting under color of law, wiretapped Paul Anderson and Brandon

Finchum in violation of protected rights under the 4th and l4'r'Amendments of the U.S. Constitution.

                                                           DECLARATORY JUDGMENT

          Defendants' unlawful actions are an ongoing threat to Plaintiffs' rights under state and federal

law, and the U.S. Constitution.

          "[A]ny     person whose wire, oral, or electronic communication is intercepted, disclosed, or

intentionally used in violation of'' the Federal Wiretap Act is entitled to seek declaratory andlor

injunctive relief 18 U.S.C $ 2520(bXl)




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           A person whose constitutional rights are violated has standing to seek declaratory relief under 28

u.s    c   s 2201

                                                              INJTINCTIVE RELIEF

           Defendants' unlawfi.rl actions are an ongoing threat to Plaintiffs' rights under state and f'ederal

law, and the U.S. Constitution.

           "[A]ny     person whose wire, oral, or electronic communication is intercepted, disclosed, or

intentionally used in violation of'the Federal Wiretap Act is entitled to seek declaratory and/or

injunctive relief. 18 U.S.C. { 2520(bX1)

           "A   person who establishes a cause of action underthe Texas Wiretap Act is entitled     to ...      an


injunction prohibiting a further interception, atternpted interception, or divulgence or use of infbrmation

obtained by interception." Tex. Civ. Prac.                      &   Re. Code $ 123.004(l).

                                                          ATTORNEY'S FEES AND COSTS

           Plaintiffs respectfully request they be awarded their attorney's fees and costs of litigation

           "[A]ny    person whose wire, oral, or electronic communication is intercepted, disclosed, or

intentionally used in violation of'the Federal Wiretap Act is entitled to seek declaratory and/or

injunctive relief." l8 U.S.C. $ 2520(bX3).

           A person who "establishes a cause of action under the Texas Wiretap Act is entitled to      ..   .




reasonable attorney's fees and costs." Tex. Civ. Prac. &. Re. Code S 123.004(5).

           Further,under42U.S.C.8l988, aparly whoprevailsin suitfiledunder42 U.S.C. $ l9B3 rnaybe

awarded reasonable attorneys' f'ees.

                                                           NO QUALTFIED IMMTINITY

           Nacogdoches County Sheriff and Nacogdoches County, Texas do not have qualitied immunity

under the facts and circumstances of this case.

           Qualified immunity shields oflcers from liability unless their conduct violates "clearly established

statutory or constitutional rights of which a reasonable person would have known." Pe(rr,sott v. (lctllohan,



,) n derson' F i nchuru Origi   n   al (' oru p I ai nt                                      Poge l3 o/'16
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 -555 U.S.       223.231 (2009) (quoting Harlow v. F'itzgerold, 457 tJ S 800, 818 (t 982)) When officers invoke

 qualified immunity ffor example,] at summary judgment. courts ask two questions.                                             (l)   whether the

 evidence viewed in the light most favorable to the plaintiff shows that the officers violated a constitutional

right, and (2) whether the unlawfulness of their conduct was "clearly established" at the time. District of

Columbiav. Wesh)l,138 S. Ct.577,589 (2018).

                                                          REOUEST FOR PROTECTIVE ORDER

             Plaintiff Brandon Finchum is currently a custodial inmate of the Nacogdoches County Sheriff                                       s


Ofl-rce but is cumently                       in the custody of the Jasper County Sheriff s Offlce. Plaintiff Brandon Finchum

seeks      a Protective Order lrom the Court preventing and prohibiting the physical transfer of Brandon

Finchum to Nacogdoches County                                      jail until the time of his trial Brandon Finchum    has credible reasons to

be in fear of his well-being and safety while in physical custody at the Nacogdoches County Jail.

                                                                       REOUEST FOR JURY TRIAL

             Plaintiff demands aiury trial.

                                                                                 DAMAGES

             Under 18 {J.S.C. $ 2520 the Plaintiffs are entitled to actual and statutory damages, punitive

damages, costs and attorneys' fees;

             Under Tex. Civ. Prac. and Rem Code $ I 23.004 a person is entitled to:

             An injunction prohibiting                             a   further interception, attempted interception, or divulgence or use of

information obtained by interception;

             Statutory damages of $10,000 for EACH occurrence

             All actual damages in                       excess         of $10,000; and,

             Punitive damages in an amount determined by the courl or jury.

                                                                           RELIEF REOTIESTED

             PlaintifIs respectfully request this court to grant the fbllowing relief:




.) n cle rson,/ Ii inch   u   m   O r igi n al C otn p I ai   nt                                                          Page   lJ o/ 16
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                     Issue declaratory relief stating Def-endants' practice of intercepting, disclosing and using

  confi dential attorney-client communications is unlawful;

                     Enjoin Def'endants from recording, disclosing,                                        and      using confidential   attorney-client

  communications;

                     Prohibit Defendants from recording, disclosing, and using confidential attorney-client

 communications,

                     Order Defendants to produce to Plaintitfs a copy of every recording rnade of communications

 between Paul Anderson and Brandon Finchum,

                    Order Delendants to produce an unredacted copy of the June 24tl', 2021 letter from Robert Davis

 to the Texas Attorney General (Exhibit "K");

                    Order Defendants to produce a list or log of each and every telephone comrnunication recorded

 between any attorney and any custodial inmate of the Nacogdoches County                                                  jail from January l,2020to

 the present;

                    Award reasonable attorney's f'ees, litigation expenses and court costs, and"

                    Plaintiff's further pray lor all other relief, both legal and equitable, to which they rnay be justly

entitled, including injunctive relief to prevent further retaliation.

                                                                                            PRAYER

                    WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that judgment be rendered against

the Def-endants, lor an amount in excess of the jurisdictional minimum of this Court

                                                                                          Respectfully submitted,

                                                                                          PAUL ANDERSON, PLLC




                                                                                          Paul V. Anderson
                                                                                          SBOT Ng 24089964
                                                                                          601 North Street
                                                                                          Nacogdoches, Texas 7 5961
                                                                                          Tel 936 i05 5600
                                                                                          E-mail : paul@paulandersonlaw.com

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                                                             VERIFICATION


STATE OF'TBXAS                                     s
NACOGDOCHES COUNTY s


        "My name is Paul V. Anderson. I am over the age of 18, I am fully competent in all respects to
swear this Veriflcation. I have personal knowledge of the facts of this Original Complaint and they are
true and comect to the best of my belief and abilitv.

            FURTHER AFFIANT SAYETH NO'I."
                                                                                             .ui
                                                                  -,^g
                                                                  Faul V. Anderson



SUBSCRIBED AND S\\'ORN'l'O BEFORE ME on this the 7|'day of November,202l.


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                                                                  NOTARY PUBLIC IN AND FOR
                                                                  THE STATE OF TEXAS




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